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UN|TED STATES OF AMERICA

HAMPTON POOLE
Agril R. Goodel FPD
Defense Attorney
200 Jefferson Avenue, Suite 200
Memph|s, Tennessee 38103

 

AMENDED* JUDGMENT lN A CR|MINAL CASE

AFTEFl RE-SENTENC|NG
(For Offenses Committed On or After November 1, 1987)

The defendant was found guilty on Count 1, 2 and 3 of the indictment on September 12, 2003.
litccordinglyl the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Titie & section Mas Offense N.u_nllam§l
Concluded

21 U.S.C. § 841 (a)(1) Possession with the intent to distribute 04)'07/2001 1
cocaine base

18 U.S.C. § 924(c) Possession of a firearm during and in 04/07/2001 2
relation to a drug trafficking crime

18 U.S.C. § 922(g) Feion in possession of a firearm 04/07/2001 3

The defendant is sentenced as provided in the following pages of this judgment The sentence is
imposed pursuant to the Sentencing Fieform Act of 1 984 and the Mandatory Victims Ftestitution Act
of 1996. '

|T |S FURTHER ORDERED that the defendant shail notify the United States Attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines,
restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of Re-|mposition of Sentence:
Defendant’s Date of Birth: 04/18/1953 August 25, 2005
Deft's U.S. Marshal No.: 18319-076

Defendant's Fiesidence Address:
695 Pearce w

Memphis, TN 38107

 

SAMUEL H. MAYS, JFi.
UNiTED STATES D|STRICT JUDGE

f comment entered on the docket sh it in c p|iance AUgUSt L , 2005
with Fl\\le 55 andlor 32¢bt FP.CrP on __§;3__§$

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Case No: 02-20026-01-Ma
Defendant Name: Hampton Poo|e Page 2 of 4

*|MPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of two hundred ten (210) months as to Count 1,
sixty (60) months as to Count 2, to run consecutive to Count 1, and one hundred twenty
(120) months as to Count 3, to run concurrent with Count 1. Tota| term of imprisonment
is two hundred seventy (270) months.

The Court recommends to the Bureau of Prisons:

That defendant participate in the 500 hour drug rehabilitation program;

That defendant be designated to serve his term of imprisonment at a facility closest
to Memphis, Tennessee.

The defendant is remanded to the custody of the United States Marshal.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at . with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marshal

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Case No: 02-20026-01-Ma
Defendant Name: Hampton Poole Page 3 of 4

*SUPERViSED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of six (6) years as to Count 1, five (5) years as to Count 2 and three (3) years as
to Coun13, all to run concurrent|y.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|SION

f. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shell work regularly at a lawful occupation unless excused by the probation officer for
schooling, treining, or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substanca, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Case No: 02-20026-01-Ma
Defendant Name: Hampton Poole Page 4 of 4

10. The defendant shall notify the probation officer within 72 hours cf being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent cf a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirementl

13. if this judgment imposes a fine or a restitution cbligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

14. The defendant shall participate as directed in a program (outpatient and/or inpatient) approved by
the Probation Officer for treatment of narcotic addiction or drug or alcohol dependency which may
include testing for the detection of substance use or abuse. Fu rther, the defendant shall be required
to contribute to the costs of services for such treatment not to exceed an amount determined
reasonable by the Probation Officer.

15. *The defendant shall cooperate |n the collection of DNA as directed by the Probation Officer.

CR|M|NAL MONETAFIY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment
options in the Schedule of Payments may be subject to penalties for default and delinquency
pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$300.00

The Special Assessment shall be due immediate|y.

F|NE
No fine imposed.

REST|TUT|ON

No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 141 in
case 2:02-CR-20026 Was distributed by faX, mail, or direct printing on
August 31, 2005 to the parties listed.

 

 

April Rose Gccde

FEDERAL PUBLIC DEFENDER
200 Jefferscn Ave.

Ste. 200

1\/1emphis7 TN 38103

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honcrable Samuel Mays
US DISTRICT COURT

